











Opinion issued March 20, 2008
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;














In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00130-CV




IN RE LISH, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 

By petition for writ of mandamus, relator, Nathan Lish, seeks a stay of the trial
court’s February 5, 2008 Order.


    
We deny the petition for writ of mandamus.  We deny the request for
temporary relief.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;
Per Curiam
&nbsp;
Panel consists of Chief Justice Radack and Justices Jennings and Bland.&nbsp;


